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EXHIBIT 3
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Pennsylvania Secretary of State
401 North Street, Rm 206
Harrisburg, PA 17120

Dear Secretary of State,

Tam writing to request specific information and records related to your compliance with Section
8 of the National Voter Registration Act and its relevant provisions that require inactive voters who
have not voted for two (2) federal election cycles to be removed from your State’s voter rolls.

As such, I specifically request the following:

1.

Records and/or data that reflect the total number of confirmation notices sent to
Pennsylvania voters from November 7, 2018 through November 3, 2020;

Records and/or data that reflect the total number of responses to the aforesaid notices you
or the State of Pennsyivania received confirming the recipient is an eligible voter:

Records and/or data that reflect the total number of voters who were sent confirmation
notices between November 7, 2018 and November 3, 2020 who did not respond to the
notice;

Records and/or data that reflect the total number of voters who were sent confirmation
notices between November 7, 2018 and November 3, 2020 who did not respond to the
notice but voted on November 3, 2020;

Records and/or data that reflect the total number of voters who were sent confirmation
notices between November 7, 2018 and November 3, 2020 who did not respond to the
notice and did not vote on November 3, 2020, but did vote on November 8, 2022.

Records and/or data that reflect the total number of voters who were sent confirmation
notices between November 7, 2018 and November 3, 2020 who did not respond to the
notice, did not vote on November 3, 2020, and did not vote on November 8, 2022.

Records and/or data that reflect the total number of voters who were sent confirmation
notices between November 7, 2018 and November 3, 2020 who did not respond to the
notice, did not vote on November 3, 2020, did not vote on November 8, 2022, and have
been removed from Pennsylvania’s voter rolls at any time from November 9, 2022 through
present.

Records and/or data that reflect the total number of voters who were sent confirmation
notices between November 7, 2018 and November 3, 2020 who did not respond to the
notice, did not vote on November 3, 2020, did not vote on November 8, 2022, and have
been not been removed from Pennsylvania’s voter rolls as of present.
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I would appreciate it if this information could be provided in a digital format, if available. Thank
you for your time and attention to this matter. I look forward to your prompt response.

Sincerely,
Eric
eric@citizenag.org
